Case 1:19-cr-10080-NMG Document 1038-6 Filed 04/01/20 Page 1 of 4




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Case 1:19-cr-10080-NMG Document 1038-6 Filed 04/01/20 Page 2 of 4
Case 1:19-cr-10080-NMG Document 1038-6 Filed 04/01/20 Page 3 of 4




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                                                      SINGER-PHONE-000537
Case 1:19-cr-10080-NMG Document 1038-6 Filed 04/01/20 Page 4 of 4




                Bill McGlashan

                Spoke about the SAT but want          the son for side door which I explained is no longer as Bill’s
                friends are helping not only to get      into the Dr Dri program but now helping get into USC. So
                nothing her but SAT.




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